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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                       REPLY IN SUPPORT OF MOTION OF
                                                                       DEFENDANT FACEBOOK, INC. TO
                 This document relates to:                             DISMISS PLAINTIFFS’ FIRST
                                                                       AMENDED CONSOLIDATED
                 ALL ACTIONS                                           COMPLAINT

                                                                       Judge: Hon. Vince Chhabria
                                                                       Courtroom 4, 17th Floor
                                                                       Hearing Date: May 29, 2019
                                                                       Hearing Time: 10:30 a.m.




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                                                        I.      INTRODUCTION
                         This multi-district litigation was established to consolidate dozens of cases arising out of the

                 Cambridge Analytica news coverage of March 2018. After more than a year of litigation, Plaintiffs seem

                 to have concluded that they have no viable claims against Facebook arising out of those events. Instead,

                 switching gears, they attempt to re-cast the case by incanting buzzwords and asserting half-baked allega-

                 tions gleaned from other news articles—“device manufacturers,” “business partners,” “Whitelisted

                 apps,” “metadata.” In their opposition brief, Plaintiffs try to jumble all of these concepts together, invoke

                 generic concerns about the privacy of their online data, assert broadly that Facebook is a bad actor, and

                 hope one of their 49 claims will stick. But while Plaintiffs’ generalized privacy concerns may be appro-

                 priate subjects before regulators and legislatures, they give rise to no actionable legal claims.

                         Plaintiffs ask this Court to create brand-new privacy interests that no federal court has ever before

                 recognized—not at common law, not under any state or federal statute, not under the Supreme Court’s

                 decision in Spokeo, and not under the Ninth Circuit’s decision in Eichenberger. In Plaintiffs’ words, the

                 “[d]isclosure of private information is itself the injury.” Pls.’ Opp. to Mot. to Dismiss 6 (Apr. 12, 2019)

                 (“Opp.”), Dkt. 266. Plaintiffs do not cite a single case even remotely supporting this boundless definition,

                 much less suggesting that the disclosures or data-sharing at issue here would give rise to Article III stand-

                 ing. If adopted, Plaintiffs’ arguments would transform privacy law in this country, opening the court-

                 house door to any plaintiff who alleges that their online data was shared with anyone for any reason—a

                 commonplace feature of the Internet that occurs countless times every day. That is not, and cannot be,

                 the law. This case should be dismissed.
                                          II.     SORTING OUT PLAINTIFFS’ THEORIES
                         Before addressing Plaintiffs’ legal arguments, it is important to untangle the stray issues that

                 Plaintiffs are mushing together in an attempt to survive dismissal, and to explain why none supports

                 continued litigation.

                         1. Kogan & Cambridge Analytica. The bulk of the Plaintiff-specific allegations in the com-

                 plaint relate to data sharing with Kogan’s app (thisisyourdigitallife) and Kogan’s unauthorized sale of

                 user data to Cambridge Analytica. But, as Facebook has set forth in several rounds of briefing, Plaintiffs’

                 Cambridge Analytica allegations fail for numerous reasons.

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                         No sensitive information. Plaintiffs still have not explained how the sharing of their data with

                 Cambridge Analytica caused them to suffer any real-world, Article III injury. Kogan’s app did not obtain

                 financial information, social security numbers, or any other information that placed Plaintiffs at any risk

                 of identity theft or any other economic injury. The data Plaintiffs’ friends shared with Kogan also was,

                 by definition, information that Plaintiffs had already shared with others on Facebook, and was not the

                 type of highly sensitive information that has traditionally given rise to a privacy injury. Plaintiffs have

                 even abandoned their speculative allegation that they were among the 1,500 users whose Facebook mes-

                 sages were acquired by Kogan. See Opp. 5-6 (no argument that Facebook obtained Plaintiffs’ messages).

                 The only consequence of Cambridge Analytica’s acquisition of user data was that some users may have

                 received targeted advertisements, which is not an actionable Article III injury.
                         Consent. As Plaintiffs have previously acknowledged, Plaintiffs consented to sharing their data

                 with Kogan’s app. Mem. of Law in Support of Facebook, Inc.’s Mot. to Dismiss 20 (Mar. 15, 2019)

                 (“MTD”), Dkt. 261-1. As Plaintiffs once admitted, Kogan only acquired Facebook users’ data consistent

                 with the users’ privacy settings. Prior Compl. ¶¶ 121-22. Plaintiffs argue that they did not consent to

                 Kogan sharing that data with Cambridge Analytica. Opp. 14. But no one disputes that point. Facebook

                 never promised users that it was impossible for third-party apps to misuse data. Facebook truthfully

                 informed users that apps acquiring their data via friend permissions “will only be allowed to use that

                 content and information in connection with that friend,” First Am. Consolidated Compl. ¶ 597 (Feb. 22,

                 2019) (“Compl.”) (quotation marks omitted), Dkt. 257, but expressly warned users that “games, applica-
                 tions and websites are created and maintained by other businesses and developers who are not part of, or

                 controlled by, Facebook,” D.D., Ex. 45 at 8 (Dec. 11, 2012 Data Use Policy).

                         2. Other third-party apps. Plaintiffs also complain about “tens of thousands” of other third-

                 party apps (Opp. 8)—but they do not claim to have actually used, or have friends that used, any of those

                 apps. Plaintiffs allege it is “virtually certain” other apps obtained their data, id., but that type of argument

                 is exactly the type of standing argument the Supreme Court rejected in Clapper v. Amnesty International,

                 USA, where the plaintiffs could “merely speculate and make assumptions about whether their communi-

                 cations” had been acquired by the government. 568 U.S. 398, 411 (2013); see also id. at 410 (rejecting

                 the “objectively reasonable likelihood” standard for standing).

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                           In any event, Plaintiffs consented to the sharing of data with third-party apps, just as they con-

                 sented to sharing data with Kogan’s app. Facebook explained to users how they could limit sharing with

                 apps via their app settings—both in the Data Use Policy and SRR. MTD 28. Plaintiffs argue that Face-

                 book misled users when it explained in the SRR that “you can control how [content and information you

                 post on Facebook] is shared through your privacy [hyperlinked] and application [hyperlinked] settings”

                 because, in their view, the word “and” suggested that privacy settings alone were sufficient to limit apps’

                 access to user data. Opp. 12, 36 (emphasis added) (quotation marks omitted). But that is not how English

                 works: the word “and” indicates that both items in a two-item list are necessary, whereas “or” connotes

                 that either item is sufficient. See Bryan A. Garner, Garner’s Modern English Usage 50 (4th ed. 2016)

                 (entry for “and/or”). In other words, the SRR told users that they should consult both their privacy and

                 app settings in determining how to “control” the sharing of their content. Privacy settings govern “who

                 sees user information on Facebook,” Opp. 13 (emphasis added) (quotation marks omitted), whereas ap-

                 plication settings govern data sharing with apps, but the two are interconnected—as Facebook clearly

                 explained in its Data Use Policy: “if you share something on Facebook, anyone who can see it can share

                 it with others, including the games, applications, and websites they use.” D.D., Ex. 45 at 9 (emphasis

                 added).
                           3. “Whitelisted” Apps. Plaintiffs try to state a claim regarding so-called “Whitelisted” apps.

                 But Whitelisted apps are just a species of third-party apps that had custom agreements with Facebook.

                 From a user’s perspective, that distinction is immaterial; Facebook never promised users that apps would
                 access data only using an off-the-rack API. For all third-party apps (including “White-listed” apps),

                 users’ consent was required before their data was shared. See Prior Compl. ¶¶ 121-22.

                           Plaintiffs lack standing with respect to Whitelisted apps because they have not alleged that any

                 of the Whitelisted apps acquired their data. Plaintiffs ask to be relieved of this basic pleading requirement

                 because “Plaintiffs do not know what Apps … are used by their Friends” and “Facebook has largely

                 hidden” the names of these apps. Opp. 7-8. Not so. Plaintiffs’ own complaint identifies several apps

                 they believe to have been among those “Whitelisted,” e.g., Compl. ¶¶ 497, 502, 505-06, 508, 510, yet

                 Plaintiffs say they have no idea whether their friends used any of these apps—not even on information

                 and belief. Plaintiffs’ lack of knowledge with respect to their friends’ use of Whitelisted apps shows

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                 either that they have not conducted the necessary pre-filing investigation on this issue, see Fed. R. Civ.

                 P. 11(b), or that their investigatory findings did not help their cause. This is a classic pleading failure.

                         4. Device Manufacturers. Plaintiffs’ allegations regarding device manufacturers (who Plaintiffs

                 sometimes mislabel “Business Partners”) are similarly not actionable. As with the Whitelisted apps,

                 Plaintiffs do not allege which device manufacturers (if any) actually obtained their information. 1 Plain-

                 tiffs allege that “Apple, Samsung, AT&T, Sprint, T-Mobile, and Verizon” are among the device manu-

                 facturers at issue, Opp. 7, but Plaintiffs apparently have not inquired whether any of their friends used

                 these devices.

                         Regardless, Plaintiffs consented to Facebook’s partnerships with device manufacturers. The Data

                 Use Policy explained that Facebook would provide data to “companies that help us provide … the ser-

                 vices we offer” including those who “help host our website.” Compl. ¶ 616 (quotation marks omitted).

                 And the device manufacturers here did exactly that—they “buil[t] Facebook’s Platform on different de-

                 vices and operating systems.” Id. ¶ 486. In other words, when users sought to engage with Facebook on

                 certain devices, those devices unsurprisingly needed data from Facebook to perform that function. That

                 is not injury in any sense of the word, and Plaintiffs do not (and cannot) allege that the device manufac-

                 turers did anything improper with the data they accessed. Plaintiffs assert that these companies “received

                 far more data than what was necessary” to support Facebook’s website, Opp. 16, but the examples they

                 cite relate to entities that Plaintiffs have not identified as being among Facebook’s “Business Partners”

                 (e.g., Compl. ¶ 557, referencing the New York Times) or quote from sources indicating that the company

                 in question obtained only publicly available information. See id. ¶ 559 (citing Gabriel J.X. Dance, et al.,

                 As Facebook Raised a Privacy Wall, It Carved an Opening for Tech Giants, N.Y. Times (Dec. 18, 2018)

                 (reporting that Microsoft Bing accessed only “public data”)).

                         5. Advertisers. Plaintiffs no longer allege that targeted advertising simpliciter (which Plaintiffs

                 term “psychographic profiling”) is a privacy injury sufficient to satisfy Article III’s injury-in-fact require-




                   1
                      Only two plaintiffs allege the type of smartphone they used to access Facebook (an iPhone), but
                 those two plaintiffs do not allege they shared on Facebook the type of data that Apple allegedly ob-
                 tained. Compl. ¶¶ 226-233, 256-263, 563.
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                 ment. See Opp. 5-8 (no reference to advertising). That abandonment is understandable; Plaintiffs previ-

                 ously admitted there is “nothing wrong” with targeted advertising, Prior Compl. ¶ 110, and they con-

                 sented to receive targeted advertisements via the Data Use Policy, which explained that Facebook “al-

                 low[s] advertisers to target a category of a user … by bundling characteristics that we believe are related

                 to the category.” D.D., Ex. 45 at 11-12. Equating these “characteristics” with “psychographic profiles”

                 is nothing but wordplay, and does not negate Plaintiffs’ lawful consent.

                        Instead, Plaintiffs now allege that Facebook “sold” or otherwise gave data to third parties to use

                 for advertising purposes. Opp. 15. But Plaintiffs have no support for that false allegation. To be clear,

                 Facebook does not sell user data, period, as Plaintiffs surely are aware. See Fed. R. Civ. P. 11(b). Nor

                 does Facebook provide user-identifiable data to advertisers. All information shared with advertisers first

                 has “removed from it anything that personally identifies you.” D.D., Ex. 45 at 11. Plaintiffs say that

                 some advertisers obtained data because the same companies are third-party app developers or device

                 manufacturers. But in those circumstances, users were sharing data with those companies consensually

                 for non-advertising purposes, subject to the limitations described above—it does not mean Facebook

                 provided data to those companies for advertising purposes. It simply reflects the reality that companies

                 can wear different hats in different circumstances.

                        6. Photograph Metadata. Plaintiffs allege that Facebook “‘stripped’ privacy metadata from

                 photos and videos” when it transmitted data to third parties, Opp. 13-14, but the relevance of that allega-

                 tion is unclear. A user’s Facebook privacy settings with respect to a particular photo or video—for ex-

                 ample, whether it can be shared with the user’s “Friends” or “Friends of Friends”—is different from the

                 policies governing data shared by Facebook users with third-party apps. D.D., Ex. 42 at 6. Specifically,

                 the app must comply with Facebook’s Platform Policy, which requires the app to use the data only in

                 connection with enhancing the user’s on-app experience, Compl. ¶ 597; D.D., Ex. 23 at 5-6, and with the

                 app’s own agreement with users. Compl. ¶ 612.

                        7. The 2012 FTC Consent Order. Plaintiffs argue that the FTC’s 2012 Consent Order “allayed”

                 their concerns regarding data sharing with third-party apps, Opp. 43, because, according to Plaintiffs, the

                 Consent Order requires Facebook “not to share user data with third-party Apps and websites unless Fa-

                 cebook had ‘clearly and prominently disclose[d] to the user, separate and apart from’ the SRR and the

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                 Data Policy,” that the information would be disclosed. Opp. 20-21. But that allegation is implausible

                 because the 2012 Consent Order expressly contradicts that assertion. The requirement that Plaintiffs

                 reference applies only if the sharing “materially exceeds the restrictions imposed by a user’s privacy

                 setting(s),” a term that includes app settings.         Consent Order at 4, https://www.ftc.gov/sites/de-

                 fault/files/documents/cases/2012/08/120810facebookdo.pdf; id. at 3 (defining “[p]rivacy setting” to “in-

                 clude any control or setting provided by [Facebook] that allows a user to restrict which individuals or

                 entities can access or view covered information”). And Plaintiffs’ own admissions make clear that the

                 sharing of data with third-party apps, including friend re-sharing, was done only when consistent with

                 users’ privacy settings. Prior Compl. ¶¶ 121-22. In fact, the Consent Order expressly allows Facebook

                 to continue friend re-sharing of user data with third-party apps without additional disclosures: As stated

                 in the second paragraph of Part II, “[n]othing in Part II will … require [Facebook] to obtain affirmative

                 express consent for sharing of a user’s nonpublic user information initiated by another user authorized to

                 access such information, provided that such sharing does not materially exceed the restrictions imposed

                 by a user’s privacy setting(s).” Consent Order at 4, supra. Thus, any user concerned about friends re-

                 sharing their data would have known, after reading the FTC’s widely publicized 2011 Complaint and

                 2012 Consent Order, that the practice was ongoing and consistent with Facebook’s disclosures.
                                                       III.    LEGAL ARGUMENTS
                         Turning now to Plaintiffs’ legal arguments, it is clear that their claims cannot survive dismissal.

                 Plaintiffs’ claims continue to suffer the same flaws that have plagued them from day one: lack of

                 standing, consent, and an inability to make the facts fit the elements of any cause of action.
                 A.      Plaintiffs Lack Standing
                         As an initial matter, the injuries Plaintiffs assert are insufficient to establish Article III standing.
                         1.      Plaintiffs allege no cognizable invasion of privacy

                         Despite repeated attempts over the past year, Plaintiffs still cannot articulate a concrete, real-

                 world, “de facto” privacy injury that satisfies the Article III standing requirement. Spokeo, Inc. v. Rob-

                 ins, 136 S. Ct. 1540, 1548 (2016). To the contrary, the privacy injuries they assert would invent a

                 brand-new privacy right and stretch the injury-in-fact requirement beyond recognition. We address

                 each in turn.


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                        Plaintiffs consented to the sharing of their Facebook data. Plaintiffs lack standing because

                 they consented to the disclosure of their information, depleting any reasonable expectation of privacy.

                 See MTD 8-19; Warth v. Seldin, 422 U.S. 490, 500 (1975) (standing “turns on the nature and source of

                 the claim asserted”). Asking whether Plaintiffs consented to the disclosure does not “conflat[e] the

                 standing inquiry with . . . merits questions.” Opp. 6. There can be no privacy interest or reasonable

                 expectation of privacy unless information is private in the first place, and that requires considering

                 whether Plaintiffs consented to disclosing the information. Plaintiffs ask this Court to “assume that

                 Facebook will not be able to establish” that Plaintiffs consented to the complained-of practices, id.

                 11, but jurisdiction is not founded on assumptions. Rather, a “Rule 12(b)(1) jurisdictional attack”

                 such as this one, where Facebook “asserts that the allegations contained in a complaint are insuffi-

                 cient on their face to invoke federal jurisdiction,” requires a court to “resolve[]” the challenge “as it

                 would a motion to dismiss under Rule 12(b)(6): . . . determin[ing] whether the allegations are suffi-

                 cient as a legal matter to invoke the court’s jurisdiction.” Phillips v. Apple Inc., 2016 WL 1579693,

                 at *3 (N.D. Cal. Apr. 19, 2016) (quoting Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th

                 Cir. 2004), and Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014)). If Plaintiffs consented to

                 the complained-of practices—which they did—then Plaintiffs had no expectation of privacy, and thus

                 lack standing. Larroque v. First Advantage LNS Screening Sols., Inc., 2016 WL 4577257, at *5

                 (N.D. Cal. Sept. 2, 2016) (dismissing for lack of standing and rejecting invasion-of-privacy injury be-

                 cause plaintiff “agreed to the release of her private information, eliminating any argument that her

                 privacy was somehow invaded” (emphasis added)).

                        The sharing of data alone is not a concrete injury. Even if there had been no consent, the

                 type of information Plaintiffs claim was shared—photos and videos that users posted to Facebook, reli-

                 gious and political beliefs, relationship posts, and “the pages they had liked,” Compl. ¶ 748—is not the

                 type of information that has historically given rise to a privacy injury when shared. Plaintiffs seem to

                 concede this point in their opposition brief. See, e.g., Opp. 6 n.8 (conceding that “misappropriation of

                 location data” has been held insufficient to constitute standing, as have “zip codes” and “names and

                 driver’s license numbers”). Plaintiffs contend that “[i]nvasion of a privacy interest confers standing un-

                 der Article III, even without further harm.” Id. 5. But two pages later, they concede the contrary,

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                 agreeing with Facebook that “[n]ot every data breach discloses information sufficiently sensitive to con-

                 stitute an invasion of a legally protected privacy interest.” Id. 7 (emphasis added). As many courts

                 have held, “the claimed loss of” “personal identifying information”—such as names, addresses, billing

                 information, or even credit card numbers—“does not constitute a concrete harm sufficient for standing

                 purposes.” Dugas v. Starwood Hotels & Resorts Worldwide, Inc., 2016 WL 6523428, at *6 (S.D. Cal.

                 Nov. 3, 2016). 2 Article III does not confer standing “based on nothing more than the unauthorized dis-

                 closure of personal information.” In re Google, Inc. Privacy Policy Litig., 2012 WL 6738343, at *5

                 (N.D. Cal. Dec. 28, 2012). And here, Plaintiffs cannot allege even that much because they authorized

                 the disclosures at issue.

                         Plaintiffs have no case law supporting their argument. Plaintiffs rely primarily on the Ninth

                 Circuit’s decision in Eichenberger to support their position that any sharing of data suffices to establish

                 standing. But Eichenberger demonstrates the opposite. The Ninth Circuit was not addressing a free-

                 standing, amorphous invasion of privacy injury, but rather a specific Congressional statute defining a

                 particular, categorical injury (unconsented-to disclosure of video-viewing history) to a particular group

                 of people (consumers). Eichenberger v. ESPN, Inc., 876 F.3d 979, 983 & n.1 (9th Cir. 2017); 18

                 U.S.C. § 2710(b)(1) (a “video tape service provider who knowingly discloses . . . personally identifia-

                 ble information concerning any consumer of such provider shall be liable to the aggrieved person”

                 (emphasis added)). In that context, the Ninth Circuit held no additional harm was necessary. As

                 Spokeo makes clear, invocation of a statutorily defined injury requires a different Article III standing

                 analysis than would apply to an injury actionable under a different source of law. Spokeo, 136 S. Ct. at

                 1549 (“[I]n the context of a statutory violation,” when the injury in fact is an “intangible harm,” courts

                 must look to “history and the judgment of Congress” to inform whether the harm is concrete enough for

                 standing purposes); Eichenberger, 876 F.3d at 983 (analyzing a VPPA claim under Spokeo and con-

                 cluding the statute protects the “substantive” right to keep “video-viewing history” private). 3 And, as

                   2
                      Contrary to Plaintiffs’ parenthetical, Dugas did not “find[] standing based on theft of name and
                 credit card information,” Opp. 6 n.8. The only injury that was cognizable in Dugas was “time and
                 money spent to avoid losses caused by the data breach,” Dugas, 2016 WL 6523428, at *6, something
                 not at issue in this case.
                   3
                       Even if this Court determines that Plaintiffs have standing under Eichenberger (and they do not),

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                 Eichenberger noted, even the VPPA supports Article III standing only for “unauthorized disclosure[s],”

                 876 F.3d at 983 n.1 (emphasis added)—not any disclosure of any information, whether consented-to or

                 not, as Plaintiffs’ broad theory would hold. See Opp. 6-7.

                         The VPPA thus expresses Congress’s judgment that certain types of plaintiffs—“consumers,”

                 as defined by the statute, 18 U.S.C. § 2710(b)(2); id. § 2710(a)(1)—have an actionable privacy interest

                 in a certain type of information—“personally identifiable information and video-viewing history,” 876

                 F.3d at 983 (quotation marks omitted); see 18 U.S.C. § 2710(a)(3)—and can sue for certain types of

                 wrongful actions that invade such an interest—“unauthorized disclosure[s]” of such information, 876

                 F.3d at 983 n.1; see 18 U.S.C. § 2710(b)(2)(B) (permitting disclosures with consent)—without proof of

                 additional harm. As Eichenberger recognized, the VPPA is a “context-specific extension” of historical

                 privacy rights to a new type of information for the purpose of protecting “consumers.” 876 F.3d at 983.

                 And Congress’s judgment is “instructive” in determining whether the alleged statutory violation is suf-

                 ficiently “concrete” to satisfy Article III. Spokeo, 136 S. Ct. at 1549.

                         The VPPA is not alone in this regard. The Fair Credit Reporting Act similarly provides that a

                 person who commits a knowing violation of the Act “with respect to any consumer is liable to that con-

                 sumer.” 15 U.S.C. § 1681n(a). The Real Estate Settlement Procedures Act, 12 U.S.C. § 2601 et seq.,

                 likewise provides for liability to a particular group of people: “the person or persons charged for the

                 settlement service involved,” 12 U.S.C. § 2607(d)(2)—language that indicates Congress’s judgment

                 that a particular class of persons suffer an Article III injury for particular types of harm.

                         The SCA, on the other hand, is a very different statute. Unlike the VPPA, the SCA is not a

                 rights-granting statute; it is a prohibition that forbids service providers from “divulg[ing] to any person

                 or entity the contents of a communication.” 18 U.S.C. § 2702(a)(1). The SCA does not identify any

                 particular group of people whose rights the statute is protecting or provide for liability to any particular

                 group of people if the law is violated. Thus, only individuals who already have Article III standing are

                 “person[s] aggrieved” under the SCA. Id. § 2707(a). Plaintiffs’ attempt to transform Eichenberger into

                 an across-the-board ruling that “invasion of privacy” can be uttered like an incantation to get through


                 such a finding would apply only to Plaintiffs’ VPPA claim. See Opp. 5 (conceding that “standing is a
                 claim-by-claim inquiry”). And that claim fails for many other reasons discussed below.
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                 the courthouse doors, Opp. 5, cannot be squared with the case’s holding, the statutory language, or the

                 actual claims at issue.

                         2.      Plaintiffs allege no cognizable economic injury

                         Plaintiffs’ claimed economic injuries provide no basis for Article III standing, as this Court has

                 recognized. Pretrial Order No. 16, Dkt. No. 243 ¶ 1 (Jan. 31, 2019); Feb. 1, 2019 Hr’g Tr. 156:3-5.

                 Plaintiffs allude to an undefined “market for personal information.” Opp. 8. But even assuming ar-

                 guendo that such a market exists, that says nothing about how Plaintiffs were harmed, nor do Plaintiffs

                 suggest that they could participate in that market. As Fraley v. Facebook, Inc., 830 F. Supp. 2d 785

                 (N.D. Cal. 2011) recognized, courts have repeatedly dismissed for lack of standing claims in which

                 plaintiffs failed to “articulate how they were economically injured by the use of their own information

                 to advertise to themselves” or “how the collection of demographic information was an economic loss to

                 them.” Id. at 798-99 (collecting cases) (emphasis added). Plaintiffs’ attempt to estimate the value of

                 their data to Facebook also fails, Opp. 8-9, as it seeks improperly to substitute “a defendant’s gain” for

                 the injury in fact requirement, which “must be based on a plaintiff’s loss.” Silha v. ACT, Inc., 807 F.3d

                 169, 174–75 (7th Cir. 2015); see also In re Google, Inc. Privacy Policy Litig., 2013 WL 6248499, at *5

                 (N.D. Cal. Dec. 3, 2013).

                         Plaintiffs theorize that Facebook appropriated their “first seller advantage,” but that too is insuf-

                 ficient to state a constitutionally recognized harm. Opp. 8. The Complaint never alleges that any of the

                 Plaintiffs wanted or tried to be first sellers of their own information. At best, this argument “relies on

                 the ‘abstract concept of opportunity costs,’” which is insufficient to support standing. Goodman v.

                 HTC Am., Inc., 2012 WL 2412070, at *7 (W.D. Wash. June 26, 2012).

                         3.      Plaintiffs allege no cognizable risk of identity theft

                         Plaintiffs have not alleged a credible risk of identity theft because none of the data allegedly

                 provided to third parties is capable of allowing the theft of Plaintiffs’ identities, such as social security

                 numbers and financial account information. See Dugas, 2016 WL 6523428, at *5 (no standing where

                 theft did not involve “social security information or . . . usernames, passwords, or emails”). Plaintiffs’

                 alleged harms—“increased phone solicitations” or information that is “often used as ‘challenge ques-

                 tions’” (without alleging Plaintiffs used them as challenge questions), Opp. 10—are at least one step

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                 removed from any risk of actual identity theft. The potential answers to a challenge question, for exam-

                 ple, do a thief no good without the information needed to prompt the challenge question in the first

                 place—such as a Social Security number or credit card number. See In re Zappos.com, Inc., 888 F.3d

                 1020, 1026 (9th Cir. 2018) (finding standing where an identity thief had “all the information he needed

                 to open accounts or spend money in the plaintiffs’ names”). The Court “would have to engage in a hy-

                 pothetical line of reasoning in order to conclude that” Plaintiffs are “at risk of imminent identity theft

                 given the small amount of useful personal information that a third-party potentially has at its finger-

                 tips.” Dugas, 2016 WL 6523428, at *5; see also Antman v. Uber Techs., Inc., 2015 WL 6123054, at

                 *11 (N.D. Cal. Oct. 19, 2015) (concluding that theft of plaintiff’s name and driver’s license was insuffi-

                 cient to demonstrate injury in fact because any harm that would result from such a misappropriation

                 posed no credible risk of identity theft).

                         As for Plaintiffs’ alleged investment in “some type of monitoring service,” Opp. 10, the Su-

                 preme Court has already made clear that Plaintiffs cannot create standing for themselves by “incurr[ing]

                 certain costs,” even “as a reasonable reaction to a risk of harm,” Clapper v. Amnesty Int’l USA, 568

                 U.S. 398, 416 (2013).
                 B.      Plaintiffs Consented to the Challenged Practices, Expressly and By Implication
                         1.      Plaintiffs gave their express consent
                         As discussed above, Plaintiffs’ consent eliminates their standing to sue. It also defeats their

                 claims on the merits. Facebook’s Data Use Policy and SRR explained to users exactly how it would

                 share data with third parties, how users could modify or restrict that sharing, and how Facebook would

                 use information to show users targeted advertising. These documents reflect binding contracts between

                 Plaintiffs and Facebook, and Plaintiffs’ claims fail because they gave their express consent to each of the
                 complained-of practices. Smith v. Facebook, Inc., 745 F. App’x 8, 8-9 (9th Cir. 2018). In response,

                 Plaintiffs recycle the same erroneous contentions from the last round of briefing: that the Data Use Policy

                 was not part of the SRR, even though the SRR referred to it in several places, and that users did not agree

                 to the Data Use Policy at sign-up, even though users were clearly prompted to review the Data Use Policy

                 before creating their Facebook accounts. Opp. 17. Both contentions are incorrect. See MTD 24-26.

                         Plaintiffs also assert that users were bound only by the version of the SRR and Data Use Policy


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                 in effect when they created their accounts, but that is wrong as a matter of law. Plaintiffs previously

                 conceded that Facebook (i) told users it would post changes to its SRR on the Facebook Site Governance

                 Page, (ii) told users how they could receive notice of future changes, (iii) in fact posted such changes on

                 the Facebook Site Governance Page, and that (iv) Plaintiffs have continued to use Facebook to the present

                 day. Prior Compl. ¶¶ 237, 291, 21-87. Courts frequently enforce updated terms where users continue

                 using a service after the provider gives notice of updated terms. See In re Facebook Biometric Info.

                 Privacy Litig., 185 F. Supp. 3d 1155, 1167 (N.D. Cal. 2016); Facebook Inc. v. Profile Tech., Ltd., 2013

                 WL 3815886, at *3 (N.D. Cal. July 22, 2013); Matera v. Google, Inc., 2016 WL 5339806, at *17 (N.D.

                 Cal. Sept. 23, 2016); DeVries v. Experian Info. Sols., Inc., 2017 WL 733096, at *7–8 (N.D. Cal. Feb. 24,

                 2017). The internet could not function any other way.
                        2.      Plaintiffs impliedly consented
                        Even if Plaintiffs did not expressly consent, Plaintiffs gave their implied consent to share data

                 with third parties. Through the clear disclosures in its binding contracts, see supra, the layered disclo-

                 sures throughout its website, and the widely publicized 2011 FTC Complaint and 2012 Consent Order,

                 users were “on inquiry notice of the terms” of Facebook’s services. Nguyen v. Barnes & Noble Inc., 763

                 F.3d 1171, 1177 (9th Cir. 2014).

                        First, the terms of the SRR and the Data Use Policy informed users of every challenged practice.

                 See supra. Facebook made these polices readily available to users—both at the moment they signed up

                 for Facebook and throughout the user experience by posting a link at the bottom of every page. MTD

                 27. Plaintiffs again complain about the number of clicks it would take to read the entire Data Use Policy,

                 Opp. 20, but they do not dispute that the Data Use Policy directed users to relevant portions of the policy

                 via prominent subheadings, such as “Sharing with other websites and applications” and “Controlling

                 what is shared when the people you share with use applications.” MTD 27 (quotation marks omitted).

                        The Data Use Policy was sufficiently prominent at sign-up to put users on notice of its terms,

                 Opp. 20; see Nevarez v. Forty Niners Football Co., 2017 WL 3492110, at *11 (N.D. Cal. Aug. 15, 2017)

                 (express consent to website’s terms where defendant provided plaintiffs with hyperlink to the terms when

                 registering for the account), and users are charged with knowledge of these policies, even if they choose

                 not to view them. Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 839–40 (S.D.N.Y. 2012) (“clicking the

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                 hyperlinked phrase is the twenty-first century equivalent of turning over the cruise ticket” to review the

                 terms of service). Users were also on notice of any new terms, which were posted on Facebook’s Site

                 Governance Page. Prior Compl. ¶¶ 237, 291; In re Facebook Biometric Info. Privacy Litig., 185 F. Supp.

                 3d at 1167; Profile Tech, 2013 WL 3815886, at *3; Matera, 2016 WL 5339806, at *17; DeVries, 2017

                 WL 733096, at *7–8.

                         Second, the app settings contained detailed controls that allowed users to decide which infor-

                 mation to share with apps, or to eliminate all such sharing entirely. Plaintiffs suggest that these disclo-

                 sures were insufficient to tell users that their “Privacy Settings” did not limit sharing with apps. Opp. 19.

                 But the Privacy Settings screen on its face restricts only the people on Facebook who can view user

                 data—“Everyone,” “Friends of Friends,” “Friends,” or some “Custom” list. Compl. ¶ 346. Of course,

                 those settings, in turn, affect who has access to a user’s data and therefore who has the ability to share the

                 user’s data with apps, just as the Data Use Policy explained. D.D., Ex. 45 at 9 (“[I]f you share something

                 on Facebook, anyone who can see it can share it with others, including the games, applications, and

                 websites they use.”) And the app settings page made clear that individuals who can see user information

                 on Facebook can “bring it with them when they use Apps,” and that the only way to limit all sharing is

                 to “turn off all [P]latform apps.” See MTD 27-28 (quotation marks omitted). In addition, the FTC’s

                 Complaint and Consent Order put users on notice that users’ friends could re-share their data with third-

                 party apps. Plaintiffs’ only argument to the contrary is based on an obvious misreading of the Consent

                 Order. See supra.
                 C.      Plaintiffs Video Privacy Protection Act (“VPPA”) Claim Fails
                         1.      Facebook Is Not A Video Tape Service Provider

                         The VPPA applies only to companies “engaged in the business … of rental, sale, or delivery of

                 prerecorded video cassette tapes or similar audio visual materials.” 18 U.S.C. § 2710(a)(4). Facebook

                 is not such a company. Of course, video is one type of media among many that Facebook allows users

                 to share, but its business is not “significantly tailored” to that purpose. In re Vizio, Inc., Consumer Pri-

                 vacy Litig., 238 F. Supp. 3d 1204, 1221 (C.D. Cal. 2017). Plaintiffs point to the fact that Facebook allows

                 users to “upload, share, like, and comment on videos,” and allows third parties to access information

                 regarding “video-related content and information through API feeds.” Opp. 26. But the same can be

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                 said about all other data on Facebook, including photographs, news stories, and text entries. If Plaintiffs’

                 allegations were sufficient to turn a company into a Videotape Service Provider, then any website that

                 ever posted a video would be covered by the statute. The word “delivery” in the VPPA should instead

                 be read to cover activities akin to “rental or sale.” McDonnell v. United States, 136 S. Ct. 2355, 2368

                 (2016) (“[A] word is known by the company it keeps.” (quotation marks omitted)). That does not “‘read[]

                 the word “delivery” out of the statute,’” Opp. 26, but rather keeps the statute properly focused on video-

                 centric commercial transactions. See In re Vizio, 238 F. Supp. 3d at 1221-22.

                         2.      Facebook Did Not Disclose Personally Identifiable Information

                         The VPPA provides a remedy only if “personally identifiable information” is disclosed. 18

                 U.S.C. § 2710(a)(3) (quotation marks omitted). The Ninth Circuit has explained that Personally Identi-

                 fiable Information (“PII”) includes “only that information that would readily permit an ordinary person

                 to identify a specific individual’s video-watching behavior.” Eichenberger, 876 F.3d at 985 (emphasis

                 added); see also In re Hulu Privacy Litig., 2014 WL 1724344, at *8 (N.D. Cal. Apr. 8, 2014) (“the statute

                 protects personally identifiable information that identifies … particular videos that the person watched.”

                 (emphasis added) (quotation marks omitted)); In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262,

                 290 (3d Cir. 2016) (paradigmatic violation is “a video clerk leaking an individual customer’s video rental

                 history”). None of the information Plaintiffs identify would reveal which videos they watched:
                    •    “read_mailbox,” which included “Videos uploaded by the user,” Opp. 27, show that users pro-
                         vided videos to Facebook, not that they watched videos.

                    •    “read_stream,” which includes information regarding videos users may have received via Face-
                         book Messenger, Opp. 27, does not reveal the videos users watched, but simply reflects that an-
                         other user sent a message that the recipient may or may not have read.

                    •    “Likes,” Opp. 27, show only that Plaintiffs clicked a button to “like” a particular page, not that
                         the user actually watched a video. See Compl. ¶ 410 (“user_likes” and “friends_likes” “pro-
                         vides access to the list of all the pages the user has liked”). Plaintiffs assert that Facebook also
                         shared users’ likes of individual videos, but they do not identify a specific data source that
                         would have provided such information and, in any event, “liking” a video does not mean that
                         you watched it or even obtained it.




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                      •    “Tags,” Opp. 27, show that someone tagged the user in a video, not that the user watched the
                           video. 4
                 D.        Plaintiffs’ Stored Communications Act (“SCA”) Claim Fails
                           Plaintiffs’ claim under the SCA, 18 U.S.C. § 2702(a), fails for several reasons. Importantly,

                 Plaintiffs appear to have abandoned their contention that Facebook is liable under the SCA for “indi-

                 rectly” disclosing data “to unauthorized parties including Cambridge Analytica and data brokers.” See

                 MTD 34 (quotation marks omitted); Compl. ¶ 851. Plaintiffs now explain that their SCA claims concern

                 only instances in which “Facebook directly disclosed” information to third parties, Opp. 31, and not for

                 any subsequent disclosure by those third parties to others—such as Kogan’s disclosures to Cambridge

                 Analytica. For that reason alone, there can be no SCA violation arising out of the Cambridge Analytica

                 events.

                           With respect to the direct disclosure of information, there can be no SCA violation where the

                 disclosure is consensual. 18 U.S.C. § 2702(b)(3). Here, Facebook obtained the requisite consent in at

                 least two ways. Facebook users consented—expressly and impliedly—to share their own information

                 (and to allow their Facebook friends to share their information) with third parties, including apps and

                 device manufactures, because this practice was disclosed in binding agreements between users and Fa-

                 cebook. See supra. 5 In addition, the users’ friends consented to sharing the users’ data with third-party

                 apps, as Plaintiffs concede: Kogan’s app, for example, “requested permission from its users, including

                 people who took the [personality] test, to access this information about their Facebook friends.” Compl.

                 ¶ 458 (quoting UK ICO report). That is sufficient because the SCA permits a disclosure if it is authorized

                 by the “addressee or intended recipient” of the communication. 18 U.S.C. § 2702(b)(3). Plaintiffs do



                  4
                      Contrary to Plaintiffs’ assertion, Opp. 27 n.33, Facebook does not agree that the “friends_ac-
                 tions_video, friends_photo_video_tags, and friends_status” categories disclosed Personally Identifia-
                 ble Information. Plaintiffs have not explained what information they believe these categories of data
                 would provide to third parties, let alone how such information would constitute PII under the VPPA.
                  5
                     Plaintiffs do not dispute that express consent is sufficient. They contend that “constructive” or
                 “implied in law” consent is not sufficient, Opp. 29, but cite no federal cases for that proposition. In-
                 deed, federal case law shows that implied consent can be sufficient under the SCA. See Perkins v.
                 LinkedIn Corp., 53 F. Supp. 3d 1190, 1212 (N.D. Cal. 2014); In re Yahoo Mail Litig., 7 F. Supp. 3d
                 1016, 1028 (N.D. Cal. 2014).


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                 not dispute that authorization by the friend, alone, is sufficient under the SCA. 6

                         Second, Plaintiffs are not entitled to statutory damages because they have not suffered any actual

                 injury, as required by 18 U.S.C. § 2707(c). See MTD 34-35; supra pp. 8-10. Plaintiffs argue that the

                 statute permits damages of “any profits made by the violator as a result of the violation.” Opp. 30 (quo-

                 tation marks omitted). But such damages are not available without injury to the Plaintiffs and, in any

                 event, Plaintiffs do not (and cannot) make any showing that Facebook profited from sharing their infor-

                 mation with Kogan: Facebook does not sell user data and does not charge apps for the right to access

                 data. Cambridge Analytica paid Kogan for the data, not Facebook. Compl. ¶ 455.
                 E.      Plaintiffs’ California-Law Claims Fail For The Reasons Previously Stated
                         Facebook’s arguments supporting dismissal of Plaintiffs’ California-law claims are set forth in

                 its motion to dismiss, and need not be rehashed here. Suffice it to say that Plaintiffs’ opposition brief

                 adds nothing new, though a few important concessions are worth highlighting.

                         California Constitution. Plaintiffs concede that they must demonstrate a “legally protected

                 privacy interest” in the information that was disclosed. Opp. 32 & n.41 (citing Hughey v. Drum-

                 mond, 2015 WL 4395013, at *11-12 (E.D. Cal. July 16, 2015)). Yet they cite no case supporting

                 their argument that they had such a historically grounded privacy interest in the data at issue here. In

                 Hughey, the court found a “legally protected privacy interest” in electronic equipment that “contained

                 client-attorney communications and files”—materials protected by an ancient common-law privilege.

                 2015 WL 4395013, at *11-12. And Facebook v. Superior Court, 15 Cal. App. 5th 729, 738 (2017),

                 involved no privacy claim at all.

                         Common-law claim for public disclosure of private facts. Plaintiffs concede that such a claim

                 arises only where there has been “mass exposure” of private information. Opp. 34 (citing Kinsey v.

                 Macur, 107 Cal. App. 3d 265, 272 (1980)). No such exposure is alleged in this case; to the contrary,

                 Plaintiffs identify only a single entity (Cambridge Analytica) that allegedly may have obtained their


                   6
                      Plaintiffs assert that “[w]here communications are configured to be accessible only to specific
                 recipients, they cannot be disclosed without clear consent.” Opp. 30 & n.36. But that statement says
                 nothing about who can consent. The cases Plaintiffs cite—Facebook v. Superior Court, 4 Cal. 5th
                 1245 (2018), and In re Facebook, Inc., 923 F. Supp. 2d 1204 (N.D. Cal. 2012)—concerned efforts to
                 subpoena communications without consent from either the senders or the recipients.
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                 data. Plaintiffs argue that Del Llano v. Vivint Solar, Inc., 2018 WL 656094 (S.D. Cal. Feb. 1, 2018),

                 did not involve “disclosure or release of private information at all,” Opp. 34 n.45, but in fact the case

                 examined whether a plaintiff had “standing [to bring] his invasion of privacy claim,” which turned on

                 “publicity in the sense of communication to the public in general or to a large number of persons,” 2018

                 WL 656094, at *5 (quotation marks omitted).

                        Negligence claim. Plaintiffs concede that they “do not ground [Facebook’s duty of care] in

                 the contracts between Facebook and Plaintiffs,” but rely instead on the existence of a “special rela-

                 tionship.” Opp. 39 (citing J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 804 (1979)). But, as set forth in

                 Facebook’s motion to dismiss, MTD 43-44, the J’Aire factors demonstrate that no such special rela-

                 tionship exists.
                        UCL claim. Plaintiffs concede they are limited to seeking “restitution.” Opp. 37. They argue

                 for the return of their “personal content and information,” contending that Facebook allegedly “took

                 more content than [it was] entitled to.” Id. But California law is clear that “‘personal information’

                 does not constitute money or property under the UCL.” In re iPhone Application Litig., 2011 WL

                 4403963, at *14 (N.D. Cal. Sept. 20, 2011); see also Ruiz v. Gap, Inc., 540 F. Supp. 2d 1121, 1127

                 (N.D. Cal. 2008) (finding no “authority to support the contention that unauthorized release of personal

                 information constitutes a loss of property”).

                        In short, Plaintiffs’ state-law claims fail at every turn, either because Plaintiffs consented to the

                 sharing of their data, because Plaintiffs had no legally cognizable privacy interest in the data under
                 common law, because Plaintiffs suffered no qualifying injury from the sharing of their data, or because

                 the conduct at issue was governed by contracts between Facebook and Plaintiffs that Facebook is not

                 alleged to have breached—or because of a combination of some or all of the above reasons.
                 F.     Plaintiffs’ Claims Are Barred By The Statute of Limitations
                        Plaintiffs’ claims also fail because the 2011 FTC Complaint provided Plaintiffs with constructive

                 notice of their claims. Plaintiffs argue for tolling of the statute of limitations, asserting that Facebook
                 engaged in “bad practices” that amount to “fraudulent concealment.” Opp. 43-44 (citing ShopKo Stores

                 Operating Co. v. Balboa Capital Corp., 2017 WL 3579879, at *5 (C.D. Cal. July 13, 2017)). But Plain-

                 tiffs do not allege fraudulent concealment in their Complaint. And, in any event, Plaintiffs’ argument

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                 ignores the proper inquiry, which focuses on when Plaintiffs had reason “to at least suspect that a type of

                 wrongdoing” has occurred. Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 806-07 (2005). By

                 Plaintiffs’ own admission, the 2011 FTC Complaint “outline[d] many of the same issues” as Plaintiffs’

                 Complaint. Compl. ¶ 381. Even if the Plaintiffs took some misguided comfort in the FTC Consent Order

                 (believing it prohibited friend re-sharing of data, which it plainly did not), Opp. 43 (emphasis omitted),

                 “allay[ing]” concerns does not eliminate them. Plaintiffs were on notice of the challenged practices early

                 this decade, and must account for their choice to wait before bringing this lawsuit.

                         Plaintiffs also argue that the 2015 Guardian article did not start the limitations period because it

                 “did not put users on notice about the conduct at issue in this lawsuit.” Opp. 44. But the article provided

                 all the key information underlying Plaintiffs’ allegations. It stated, for example, that Cambridge Analyt-

                 ica improperly obtained the data of “tens of millions of Facebook users, harvested largely without their

                 permission,” including “names, locations, birthdays, genders—as well as . . . Facebook ‘likes.’” H. Da-

                 vies, Ted Cruz using firm that harvested data on millions of unwitting Facebook users, The Guardian

                 (Dec. 11, 2015), https://bit.ly/2lHR0Ac. Even the article’s title—“Ted Cruz using firm that harvested

                 data on millions of unwitting Facebook users”—should have alerted Plaintiffs that Cambridge Analytica

                 may have accessed their data.
                 G.      The Court Should Dismiss With Prejudice
                         At the last hearing, the Court instructed Plaintiffs that “the amended complaint will, absent ex-

                 traordinary circumstance, reflect the plaintiffs’ best and final shot at alleging standing and stating a

                 claim.” Dkt. 247. Plaintiffs seek leave to amend, but do not identify any extraordinary circumstance that

                 would warrant yet another bite at the apple. Opp. 45. Facebook has raised all of these dismissal grounds

                 before, so none comes as a surprise. Contra Desertrain v. City of Los Angeles, 754 F.3d 1147, 1154 (9th

                 Cir. 2014) (cited in Opp. 45). Plaintiffs instead speculate that additional evidence may become public

                 that might “save” their otherwise deficient claims, citing two news articles published after the filing of

                 the amended complaint. Opp. 3 n.7, 21 n.19, 45 & n.56. But they do not explain how those news articles

                 or any future news reports might cure their deficient allegations. Indeed, by Plaintiffs’ theory, no defi-

                 cient complaint could ever be dismissed, as there might always be a hope that more information might

                 emerge. It is time for this litigation to end.

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                                                        IV.     CONCLUSION
                        For the foregoing reasons, Facebook respectfully requests that this Court dismiss Plaintiffs’ Con-

                 solidated Complaint without leave to amend.

                 DATE: May 3, 2019                        Respectfully submitted,

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